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     BEVERLY LAW
 2
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 4   Facsimile: (323) 421 9397
 5
     Attorney for Mike Kemel, Mariya Ayzenberg
 6
 7
 8
                                 UNITED STATES BANKRUPTCY COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
11                                 SAN FERNANDO VALLEY DIVISION

12   In re                                              )   Case No.: 1:20-bk-11006-VK
                                                        )
13                                                      )
             LEV INVESTMENTS, LLC,                      )   Chapter 11, subchapter V
14                                                      )
                                  Debtor.               )   RESPONSE TO DECLARATION OF DAVID
15                                                      )   GOLUBCHIK IN RESPONSE TO
                                                        )   EMERGENCY MOTION TO RECUSE DAVID
16                                                      )
                                                        )   GULUBCHIK AND THE LAW FIRM OF
17                                                      )   LEVEN, NEALE, BENDER, YOO & BRILL
                                                        )   LLP [DOC 61] DISABLLING ANY FURTHER
18                                                      )   ACT BY DAVID GOLUBCHIK
                                                        )
19                                                      )
                                                        )   [No Hearing Set]
20                                                      )

21
22           TO THE HON. VICTORIA KAUFMAN, UNITED STATES BANKRUPTCY COURT

23   JUDGE, AT THE OFFICE OF THE UNITED STATES TRUSTEE AND ALL OTHER PARTIES

24   IN INTEREST:

25           PLEASE TAKE NOTICE that Mike Kemel, Mariya Ayzenberg hereby submitted their

26   response to Declaration of David Golubchik in support of their Emergency Motion to Disqualify David

27   Golubchik and the law firm of Levene, Neale, Bender, Yoo & Brill LLP, from all further participation in

28   the main bankruptcy proceeding and all of the related removed actions. They further objects to the
     employment of David Golubchik and the law firm of Levene, Neale, Bender, Yoo & Brill LLP [DOC

                                                        1
         RESPONSE TO DECLARATION OF DAVID GOLUBCHIK TO EMERGENCY MOTION TO RECUSE DAVID
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 1
     10-11, 30]. They further request that David Golubchik and the law firm of Levene, Neale, Bender, Yoo
 2
     & Brill LLP be Ordered to disgorge all funds entrusted to them in advance of their employment.
 3
        THE DECLARATION OF DAVID GOLUBCHIK ONLY CONFIRMS THAT THERE IS A
 4
      DIRECT CONFLICT AND INSTEAD OF BOWING OUT GRACEFULLY MR. GOLUBCHIK
 5
                    IS ON A RAMPAGE TO DESTROY EVERYTHING IN HIS SIGHTS
 6
             Mr. Golubchik admits to representing the moving parties. The relationship goes back to
 7
     December 2018. Denying the same and threating “criminal referral investigation,” to gain an advantage
 8
     in a civil forum only proves how corrupt Mr. Golubchik really is and that greed is the driving factor in
 9
     this case, not fiduciary duties.
10
             To call his own client’s “interlopers” is a disgrace and a shame. Instead of apologizing to the
11
     Court and the creditors for stepping into a case, he should have never stepped foot it, Mr. Golubchik
12
     doubles down on the assertion that even though he represented the moving parties and holds their
13
     confidences, he can still sue them. The gall is appalling.
14
             There is case after case that the proposed general bankruptcy counsel must disclose all prior
15
     interests with anyone in the case. Pursuant to § 327, a professional has a duty to make full, candid and
16
     complete disclosure of all facts concerning his transactions with the debtor. Professionals must disclose
17
     all connections with the debtor, creditors and parties in interest, no matter how irrelevant or trivial those
18
     connections may seem. The disclosure rules are not discretionary. Mehdipour v. Marcus & Millichap (In
19
     re Mehdipour), 202 B.R. 474, 480 (9th Cir. BAP 1996) (citations omitted, emphasis added). Movitz v.
20
     Baker (In re Triple Star Welding, Inc.) (Bankr.9th Cir. 2005) 324 B.R. 778, 789.
21
             To hold adverse interest within meaning of 11 USCS § 327 means: (1) to possess or assert any
22
     economic interest that would tend to lessen value of bankrupt estate or that would create either actual or
23
     potential dispute in which estate is rival claimant; or (2) to possess predisposition under circumstances
24
     that render such bias against estate; to represent adverse interest means to serve as agent or attorney for
25
     entities holding such adverse interest; if there is any doubt as to existence of conflict, that doubt should
26
     be resolved in favor of disqualification; negligence does not excuse failure to disclose possible conflict
27
     of interest. In re Lee, 94 B.R. 172, 18 Bankr. Ct. Dec. (LRP) 874, 20 Collier Bankr. Cas. 2d (MB) 510
28
     (Bankr. C.D. Cal. 1988).


                                                           2
         RESPONSE TO DECLARATION OF DAVID GOLUBCHIK TO EMERGENCY MOTION TO RECUSE DAVID
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 1
            In determining whether attorney is disqualified under 11 USCS § 327(a) court should examine
 2
     totality of circumstances on case-by-case basis, keeping in mind that requirement of disinterestedness
 3
     and lack of adverse interest are intended to address not only actual and potential conflicts, but also
 4
     appearance of impropriety or conflict irrespective of integrity of person or firm under consideration;
 5
     disinterested person should be divested of any scintilla of personal interest which might be reflected in
 6
     attorney’s decision concerning estate matters. In re Watson, 94 B.R. 111 (Bankr. S.D. Ohio 1988).
 7
            Law firm which accepted prepetition retainer of $15,000 prior to being denied employment
 8
     under 11 USCS § 327 for failure to show disinterestedness and freedom from adverse interest may not
 9
     keep retainer, where it did not advance any reasons why it should be entitled to keep funds; since firm
10
     was never employed under § 327 or 11 USCS § 1103, bankruptcy court had no discretion to allow it
11
     professional compensation; nor may firm now obtain payment for professional work it performed before
12
     court denied it compensation under 11 USCS § 503(b)(3)(D), since to do so would render § 327(a)
13
     nugatory and contravene Congress’s intent in providing for prior approval. In re Stoico Rest. Group, 271
14
     B.R. 655, 38 Bankr. Ct. Dec. (LRP) 258 (Bankr. D. Kan. 2002).
15
            Definition of “disinterested” in 11 USCS § 101(14) is broadly construed to disqualify anyone
16
     who might have slightest decree of interest or relationship with debtor that would color independent and
17
     impartial judgment required by Bankruptcy Code. In re Sauer, 191 B.R. 402 (Bankr. D. Neb. 1995).
18
            Case law after case law shows that Mr. Golubchik and his firm are disqualified and cannot
19
     represent the Debtor in this case. But instead of apologizing before the Court and the creditors, Mr.
20
     Golubchik goes on a rampage against his very own clients for bringing to the Court’s attention Mr.
21
     Golubchik’s violations of the most sacred duty that of upholding the attorney-client privilege. To call his
22
     own clients “interlopers” when they confided in him and asked for advise about exactly the same issues
23
     that are before the Court today. And just because Mr. Golubchik made less money with the moving
24
     parties, does not give him a right to use them and their confidences to make more money with the
25
     Debtor on the other side. What Mr. Golubchik engaged in is unheard of. He must be recused from this
26
     case immediately. Mr. Golubchik makes an absurd request for “discovery” from his own clients?! How
27
     does he envision this going? Even though Mr. Golubchik completely betrayed his oath and profession
28



                                                          3
         RESPONSE TO DECLARATION OF DAVID GOLUBCHIK TO EMERGENCY MOTION TO RECUSE DAVID
                                     GOLUBCHIK AND THE FIRM
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 1
     for a bigger buck, the moving parties still hold their attorney-client privilege. They are not and will not
 2
     let Mr. Golubchik use them anymore than he already has.
 3
            One thing that is emphasized is that by way of his interaction and obtainment of confidences and
 4
     secrets from Mr. Kemel and Mrs. Ayzenberg is the fact that Mr. Golubchik understands and precisely
 5
     knows what the singular most important issued to any of the litigation is about the people who he is
 6
     litigating against and those are his own clients. To be clear, but the undersigned is speaking about is
 7
     “money to fight.”
 8
            Mr. Golubchik, knows how much money have and possess in their war chest because he is
 9
     representing them. any lawyer in the business of lawn knows the wealth of his client more precisely
10
     than the Internal Revenue Service and such knowledge is fatally potent in litigation as it is though one
11
     singular point/issue that without fail will control the outcome of 99.99 percent of all litigation. When
12
     one runs out of money, one cannot longer defend oneself in what has come to be known as the Battle of
13
     Kings i.e., litigation. Global Van Lines, Inc. v. Sup.Ct. (V.I.P. Movers, Inc.) (1983) 144 Cal.App.3d 483,
14
     489, 192 Cal.Rptr. 609, 613].
15
            There is also a presumption that Mr. Golubchik, has obtained substantial secrets of Mr. Kemel
16
     and Ms. Ayzenberg that he is currently using against them. The presumption can only be rebutted with
17
     clear and convincing evidence and as such avoids the ironic result of disclosing the former client's
18
     confidences and secrets through inquiry into the actual state of the lawyer's knowledge in proceedings to
19
     disqualify the attorney. H.F. Ahmanson & Co. v. Salomon Bros., Inc. (1991) 229 Cal.App.3d 1445,
20
     1453, 280 Cal.Rptr. 614, 618.
21
            Mr. Golubchik, and his firm must be disqualified and disqualified immediately.
22
                                                  CONCLUSION
23
            The DIP owes a fiduciary duty to the creditors of the estate. It is simply irreconcilable and
24
     offensive for Mr. Golubchik, acting as the agent / attorney for the Estate to engage this litigation when
25
     he cannot reconcile the duty owed to the Creditors with the duties he owes to Mike Kemel and Mariya
26
     Ayzenberg. In re McConville (9th Cir. 1997) 110 F.3d 47, 50; In re Woodson (9th Cir. 1988) 839 F.2d
27
     610, 614; Wolf v. Weinstein (1963) 372 U.S. 633, 649-650, 83 S.Ct. 969, 979-980.
28



                                                          4
         RESPONSE TO DECLARATION OF DAVID GOLUBCHIK TO EMERGENCY MOTION TO RECUSE DAVID
                                     GOLUBCHIK AND THE FIRM
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 1
            Mr. Golubchik must be immediately recused and ordered to disgorge all monies paid to him
 2
     under the authority of §330.
 3
            The only thing that Mr. Golubchik must be trusted with is a one-way ticket away from this
 4
     litigation. The man is faced with indisputable evidence of a Retainer Agreement between he and Mr.
 5
     Kemel and then has the audacity to call Mr. Kemel and his mother, Ms. Ayzenberg, “interlopers”?!
 6
            Mr. Kemel and Ms. Ayzenberg are not “interlopers” ; and Mr. Golubchik is no “fiduciary.”
 7
            Mr. Golubchik attackes his own Clients’ for the sake of the sake of making another dollar from
 8
     another client. The conduct of Mr. Golubchik is not only not commendable, his actions are proscribed
 9
     by the rules of the profession of law. “As we held in our decision in American Airlines, Inc. v. Sheppard,
10
     Mullin, Richter Hampton (2002) 96 Cal.App.4th 1017 [ 117 Cal.Rptr.2d 685] ( American Airlines), a
11
     breach of duty of loyalty based on violation of these rules occurs whether or not confidences are actually
12
     revealed in the adverse action.” Benasra v. Mitchell Silberberg Knupp, 123 Cal.App.4th 1179, 1187
13
     (Cal. Ct. App. 2004)
14
            What Mr. Golubchik fails to appreciate is that by attacking Mr. Kemel and Ms. Ayzenberg, he
15
     seals his own fate. If there may have been a “probability for his disqualification, Mr. Golubchik
16
     cemented the obligation of the Court to recuse him a mandatory duty. Benasra v. Mitchell Silberberg
17
     Knupp, 123 Cal.App.4th 1179, 1188 (Cal. Ct. App. 2004) (“The actual use or misuse of confidential
18
     information is not determinative; it is the possibility of the breach of confidence which controls.
19
     [Citation.]' ( David Welch Co. v. Erskine Tulley (1988) 203 Cal.App.3d 884, 891 [ 250 Cal.Rptr. 339].)
20
     It was not necessary for American to establish that [the attorney] answered the questions, thus revealing
21
     confidential information, in order to prove that [the attorney] breached his fiduciary duty to American.
22
     He placed the noose around American's neck, without its consent, promising all the while not to kick
23
     over the chair on which it stood, blithely ignoring the sweat forming on the corporate brow. He may
24
     have been confident in his ability to resist the temptation to favor ADO's interests, but the State Bar
25
     Rules of Professional Conduct exist to prevent clients like American from being placed in such a
26
     precarious position. `Nor does it matter that the intention and motives of the attorney are honest. The
27
     rule is designed not alone to prevent the dishonest practitioner from fraudulent conduct, but as well to
28
     preclude the honest practitioner from putting himself in a position where he may be required to choose

                                                          5
         RESPONSE TO DECLARATION OF DAVID GOLUBCHIK TO EMERGENCY MOTION TO RECUSE DAVID
                                     GOLUBCHIK AND THE FIRM
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 1
     between conflicting duties, or be led to an attempt to reconcile conflicting interests, rather than to
 2
     enforce to their full extent the rights of the interest which he should alone represent.' ( Anderson v.
 3
     Eaton [(1930)] 211 Cal. 113, 116 [ 293 P. 788].) We do not doubt that the attorney believed he could
 4
     maintain his client's confidence, but American simply does not have to take his word for it.’ ( American
 5
     Airlines, supra, 96 Cal.App.4th at p. 1043.)”)
 6
            The Court is left with no alternative but to exercise its discretion in the only manner in which
 7
     that discretion may be exercised in light of the circumstances and in light of Mr. Golubchik caustic
 8
     venom towards those who share undeniable written instruments evidencing an attorney-client
 9
     relationship with he.
10
11          The Court must order the immediate recusal of Mr. Golubchik.
12                                                         Respectfully submitted,
13   DATED: June 29, 2020                                  BEVERLY LAW
14
15
                                                      By: _________________________________________
16                                                          Michael Shemtoub, Esq.
17                                                          Attorney for Mr. Kemel and Ms. Ayzenberg

18
19
20
21
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23
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25
26
27
28



                                                           6
         RESPONSE TO DECLARATION OF DAVID GOLUBCHIK TO EMERGENCY MOTION TO RECUSE DAVID
                                     GOLUBCHIK AND THE FIRM
         Case 1:20-bk-11006-VK                     Doc 65 Filed 06/29/20 Entered 06/29/20 15:07:12                                     Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 4929
Wilshire Blvd, Suite 702, Los Angeles, CA 90010

A true and correct copy of the foregoing document entitled (specify): RESPONSE TO DECLARATION OF DAVID
GOLUBCHIK IN RESPONSE TO EMERGENCY MOTION TO RECUSE DAVID GULUBCHIK AND THE LAW FIRM OF
LEVEN, NEALE, BENDER, YOO & BRILL LLP [DOC 61] DISABLLING ANY FURTHER ACT BY DAVID GOLUBCHIK
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1.! TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General!
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
6-28-2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the!
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:!
Katherine Bunker kate.bunker@usdoj.gov
  John Burgee jburgee@bandalaw.net
  Caroline Renee Djang (TR) caroline.djang@bbklaw.com,
C190@ecfcbis.com;sansanee.wells@bbklaw.com;wilma.escalante@bbklaw.com
  David B Golubchik dbg@lnbyb.com, stephanie@lnbyb.com
  Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
  Thomas D Sands thomas@thesandslawgroup.com, thomas@thesandslawgroup.com
  David A Tilem davidtilem@tilemlaw.com,
DavidTilem@ecf.inforuptcy.com;joanfidelson@tilemlaw.com;JoanFidelson@ecf.inforuptcy.com;
DianaChau@tilemlaw.com
  United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
                                                                          X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 6-29-2020 I served the following persons and/or entities at the last known addresses in this bankruptcy case or!
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,!
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will!be
completed no later than 24 hours after the document is filed.
                                                                         X Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method!for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 06/29/2020, I served the!following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to!such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration!that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is!filed.
Hon. Victoria S. Kaufman
United States Bankruptcy Court
21041 Burbank Boulevard, Suite 354 / Courtroom 301
Woodland Hills, CA 91367
                                                                         X Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  6-29-2020                        Michael Shemtoub, Esq.
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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                                                                                                   9   Franchise Tax Board
Case 1:20-bk-11006-VK                                ATTN BANKRUPTCY UNIT                              Bankruptcy Section MS: A-340
Central District of California                       PO BOX 54110                                      P. 0. Box 2952
San Fernando Valley                                  LOS ANGELES CA 90054-0110                         Sacramento, CA 95812-2952
Tue Jun 16 14:06:24 PDT 2020
Internal Revenue Service
PO Box 7346                                                                                              Lev Invesbnents, LLC
Philadelphia, PA 19101-7346                                                                              13854 Albers Street
                                                                                                         Sherman Oaks, CA 91401-5811


(p)OFFICE OF FINANCE CITY OF LOS ANGELES
200 N SPRING ST RM 101 CITY HALL                     Securities & Exchange CoDDDission                   San Fernando Valley Division
LOS ANGELES CA 90012-3224                            444 South Flower St., Suite 900                     21041 Burbank Blvd,
                                                     Los Angeles, CA 90071-2934                          Woodland Hills, CA 91367-6606


FR, LLC
c/o Michael Shemtoub, Esq.                           Franchise Tax Board                                 G&B Law, LLP
4929 Wilshire Blvd., suite 702                       Special Procedures                                  Attn: James R. Felton
Los Angeles, CA 90010-3824                           POB 2952                                            16000 Ventura Blvd., suite 1000
                                                     Sacramento, CA 95812-2952                           Encino, CA 91436-2762

(p) INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS                    Jeff Nodd, Esq.                                     LDI Ventures, LLC
PO BOX 7346                                          15250 Ventura Blvd                                  423 N Palm dr
PHILADELPHIA PA 19101-7346                           Encino, CA 91403-3201                               Beverly Hills, CA 90210-3974


Landmark Land, LLC
Attn Alex Polovinchik                               Michael Leizerovitz                                  Michael Masinovsky
860 Via De La Paz, suite E-1                        15 Via Monarca St.                                   21810 Eaton Place
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Ming Zhou
Thomas Krantz, Esq.                                 (p)REAL PROPERTY TRUSTEE INC                         Sensible Consulting & Mgmt Inc
2082 Michelson Drive, Suite 212                     ATTN MIKE KEMEL                                      c/o John Burgee Esq.
Irvine, CA 92612-1213                               PO BOX 17064                                         20501 Ventura Boulevard, Suite 262
                                                    BEVERLY HILLS CA 90209-3064                          Woodland Hills, CA 91364-6410

Thomas Sands, Esq.
The Sands Law Group, APLC                            U.S. Trustee San Fernando Valley                    United States Trustee (SV)
205 South Broadway, Suite 903                        915 Wilshire Blvd.                                  915 Wilshire Blvd, Suite 1850
Los Angeles, CA 9 0012-3618                          Suite 1850                                          Los Angeles, CA 90017-3560
                                                     Los Angeles, CA 90017-3560

Caroline Renee Djang (TR)
18101 Von Karman Ave., Suite 1000                    David B Golubchik                                   Juliet Y Oh
Irvine, CA 92612-0164                                Levene Neale Bender Yoo & Brill LLP                 10250 Constellation Blvd Ste 1700
                                                     10250 Constellation Blvd Ste 1700                   Los Angeles, CA 90067-6253
                                                     Los Angeles, CA 90067-6253




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                  Case 1:20-bk-11006-VK              Doc 65 Filed 06/29/20 Entered 06/29/20 15:07:12 Desc
Bankruptcy Unit                                       Main Document    Page 9 of 9
P.O. Box 54110                                                                          Insolvency I Stop 5022
Los An geles, CA 90051-0110                                                             300 N. Los Angeles St., #4062
                                                                                        Los Angeles, CA 90012-9903

 (d)Los Angeles County Tax Collector
P.O. Box 54018                                       Real Property Trustee, Inc.
Los An geles, CA 90054-0018                          P.O. Box 17064
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